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                     UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


                                              NO. 05-80266-1
                                              HON.PATRICK J. DUGGAN
UNITED STATES OF AMERICA,

                   Plaintiff(s),

vs.

ARSHAD A. MALIK,

                   Defendant(s).
                                          /

      ORDER GRANTING MOTION TO APPOINT NEW COUNSEL AND RE-
           APPOINTING THE FEDERAL DEFENDER OFFICE

                   At a session of said Court, held in the U.S.
                   District Courthouse, City of Detroit, County
                   of Wayne, State of Michigan on April 17, 2009.


       This matter is before the Court on Motion to Appoint new counsel for

Defendant. No response has been filed, therefore;

       IT IS ORDERED that the Motion to Appoint new counsel for Defendant

be and the same is hereby GRANTED.

       IT IS FURTHER ORDERED that the Federal Defender Office is appointed to

represent the defendant in this matter.


                           s/Patrick J. Duggan
                           Patrick J. Duggan
                           United States District Judge

Dated: April 17, 2009

I hereby certify that a copy of the foregoing document was served upon counsel of
record on April 17, 2009, by electronic and/or ordinary mail.
                           s/Marilyn Orem
                           Case Manager
